1 . 2 9
Case: 3:19-cv-00363-TMR Doc #: 18 Filed: 05/28/20 Page: 1 of 1 PAGEID #: 81

Court Name: US District Court S00
ivision: 3

Receipt Number: 300DAY023782

Cashier ID: butlerp

Transaction Date: 05/28/2020

Payer Name: Kagan Stern Mar inello

NOTICE OF APPEAL /DOCKETING FEE

For: Kagan Stern Marine! lo
Case/Party: D-OHS-3~19-CV-000363-001
Amount: $505 .00

CHECK

Remitter: Kagan Stern
Check/Money Order Num: 1654
Amt Tendered: $505.00

Tota] Due: 505.0
Total Tendered: $505 ‘00
Change Amt: 0.00

A fee of $53.00 will be assessed on
all returned checks.
